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                        UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

 IN RE: WILLIAM D. KAVEY                                  BK No. 17-10026
        CAROLE J KAVEY

           OBJECTION TO MOTION FOR RELIEF FROM STAY FILED BY
         MORGAN STANLEY MORTGAGE CAPITAL HOLDINGS LLC


        Now come the debtors William D. Kavey and Carole J Kavey and hereby object to the

 Motion for Relief from Stay filed by Morgan Stanley Mortgage Capital Holdings LLC.

 1.     The Debtors are without sufficient information to admit or deny the allegations of

        paragraph 1 and leave the plaintiff to its proof. To the extent an answer is required, the

        allegation should be considered denied.

 2.     The Debtors are without sufficient information to admit or deny the allegations of

        paragraph 2 and leave the plaintiff to its proof. To the extent an answer is required, the

        allegation should be considered denied.

 3.     The Debtors are without sufficient information to admit or deny the allegations of

        paragraph 3 and leave the plaintiff to its proof. To the extent an answer is required, the

        allegation should be considered denied.

 4.     The Debtors are without sufficient information to admit or deny the allegations of

        paragraph 4 and leave the plaintiff to its proof. To the extent an answer is required, the

        allegation should be considered denied.

 5.     Admitted.

 6.     The Debtors are without sufficient information to admit or deny the allegations of

        paragraph 6 and leave the plaintiff to its proof. To the extent an answer is required, the

        allegation should be considered denied.

 7.     Denied.
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 8.        Denied.

 9.        The Debtors are without sufficient information to admit or deny the allegations of

           paragraph 9 and leave the plaintiff to its proof. To the extent an answer is required, the

           allegation should be considered denied.

 10.       The Debtors are without sufficient information to admit or deny the allegations of

           paragraph 10 and leave the plaintiff to its proof. To the extent an answer is required, the

           allegation should be considered denied.

 11.       The Debtors are without sufficient information to admit or deny the allegations of

           paragraph 11 and leave the plaintiff to its proof. To the extent an answer is required, the

           allegation should be considered denied.

 12.       Denied.

 13.       Denied.

           Wherefore, the defendant prays for judgment in their favor and all appropriate
 relief available.
                               FIRST AFFIRMATIVE DEFENSE

           Movant has adequate protection of its interest in its collateral as there is equity.
                              SECOND AFFIRMATIVE DEFENSE

           This mortgage was modified in 2012. The motion fails to acknowledge the
 modification.
                               THIRD AFFIRMATIVE DEFENSE

           The movant has failed to provide an accounting or loan history to support its
 claims.
                             FOURTH AFFIRMATIVE DEFENSE

       The mortgage fails to accurately describe the security and therefore unenforceable.
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                                                  Debtors William D. Kavey and Carole J Kavey
                                                  By their attorneys,

                                                  /s/RUSSELL D. RASKIN
                                                  BC #412380
                                                  RASKIN & BERMAN
                                                  116 EAST MANNING STREET
                                                  PROVIDENCE, RI 02906
                                                  TEL. 1.401.421.1363 EXT. 19
                                                  FAX 1.401.272.4467
                                                  EMAIL: russell@raskinberman.com

                                  CERTIFICATE OF SERVICE

 I hereby certify that, on January 30, 2017 I filed the Objection and served this document through
 the electronic filing system on the following parties:

        Gary W. Cruickshank gwc@cruickshank-law.com, ma09@ecfcbis.com
        John Fitzgerald USTPRegion01.BO.ECF@USDOJ.GOV
        Joseph Dolben on behalf of Creditor FV-I, Inc. in trust for Morgan Stanley
         Mortgage Capital Holdings LLC
         jdolben@mlg-defaultlaw.com, yfrails@mlg-defaultlaw.com;rdesrosiers@mlg-
         defaultlaw.com

 and I hereby certify that I have mailed by United States Postal Service, postage pre-paid, the
 document electronically filed with the court to the following non CM/ECF participants:

 Mr. & Mrs. William Kavey
 8 Dean Street
 Milton, MA 02186

 /s/DAWN PEMENTAL
